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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

-------------------------------------------------------------- :
ASTRAZENECA LP, ASTRAZENECA                                    :
AB, ASTRAZENECA UK LIMITED, and                                :
ASTRAZENECA PHARMACEUTICALS LP,                                :
                  Plaintiffs,                                  :
                                                               :   Civil Action No. 15-cv-01000-RGA
                       v.                                      :          CONSOLIDATED
                                                               :
SIGMAPHARM LABORATORIES,                                       :
LLC, ET AL.                                                    :
                                                               :
                                                               :
                  Defendant.                                   :
-------------------------------------------------------------- :
ASTRAZENECA LP, ASTRAZENECA                                    :
AB, ASTRAZENECA UK LIMITED, and                                :
ASTRAZENECA PHARMACEUTICALS LP,                                :
                  Plaintiffs,                                  :
                                                               :   Civil Action No. 15-cv-00999-RGA
                       v.                                      :
                                                               :
MYLAN PHARMACEUTICALS INC.                                     :
                                                               :
                                                               :
                  Defendant.                                   :
-------------------------------------------------------------- :




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                                     CONSENT JUDGMENT

                  AstraZeneca LP, AstraZeneca AB, AstraZeneca UK Limited, and AstraZeneca

Pharmaceuticals LP (hereinafter collectively “AstraZeneca”), and Mylan Pharmaceuticals Inc.

(hereinafter “Defendant”), the parties in the above-captioned action (“the Action”), have agreed

to terms and conditions representing a negotiated settlement of this Action and have set forth

those terms and conditions in a Settlement Agreement (the “Settlement Agreement”). Now the

parties, by their respective undersigned attorneys, hereby stipulate and consent to entry of

judgment and an injunction in this Action as follows:

                  IT IS this _____ day of _________, 2018:

                  ORDERED, ADJUDGED AND DECREED as follows:

                  1.    This District Court has jurisdiction over the subject matter of the above

Action and has personal jurisdiction over the parties.

                  2.    As used in this Consent Judgment, (i) the term “Defendant Product” shall

mean a drug product sold, offered for sale or distributed pursuant to Abbreviated New Drug

Application No. 208597 (and defined in greater detail in the Settlement Agreement); (ii) the term

“Licensed Patents” shall mean United States Patent Numbers 6,251,910; RE46,276 (6,525,060);

7,250,419; 7,265,124, and 8,425,934; and (iii) the term “Affiliate” shall mean any entity or

person that, directly or indirectly through one or more intermediaries, controls, is controlled by,

or is under common control with Defendant; for purposes of this definition, “control” means (a)

ownership, directly or through one or more intermediaries, of (1) more than fifty percent (50%)

of the shares of stock entitled to vote for the election of directors, in the case of a corporation, or

(2) more than fifty percent (50%) of the equity interests in the case of any other type of legal

entity or status as a general partner in any partnership, or (b) any other arrangement whereby an

entity or person has the right to elect a majority of the Board of Directors or equivalent


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governing body of a corporation or other entity or the right to direct the management and policies

of a corporation or other entity.

                  3.   Unless otherwise specifically authorized pursuant to the Settlement

Agreement, Defendant, including any of its Affiliates, successors and assigns, is enjoined from

making, having made, using, selling, offering to sell, importing or distributing of the Defendant

Product.

                  4.   Compliance with this Consent Judgment may be enforced by AstraZeneca

and its successors in interest, or assigns, as permitted by the terms of the Settlement Agreement.

                  5.   This District Court retains jurisdiction to enforce or supervise performance

under this Consent Judgment and the Settlement Agreement.

                  6.   All claims, counterclaims, affirmative defenses and demands in this action

are hereby dismissed with prejudice and without costs, disbursements or attorneys’ fees to any

party.

                                                             _____________________________
                                                             The Honorable Richard G. Andrews
                                                             United States District Judge




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We hereby consent to the form and entry of this Order:



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